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Agent Matt Bryant (00:00):
(silence) What is going on, brother?

James Garretson (00:00):
What is going on?

Agent Matt Bryant (00:11):
Oh, man. Where you at these days?

James Garretson (00:14):
I am in Ardmore today.

Agent Matt Bryant (00:15):
Ah. Goodness. Goodness man. I know you are anxious to be in Florida.

James Garretson (00:25):
Yeah. Sick of these people. What's new?

Agent Matt Bryant (00:29):
Still just need to get in touch with Paul.

James Garretson (00:32):
I have got some information on him right now, hang on. He sent me a text the other day. I did not, I was
going to forward it to you. I will forward you the text. He said, he'd be back on Thursday. His mom's
dying or whatever, and he will be back Thursday.

Agent Matt Bryant (00:53):
Can you please just have him touch base with me?

James Garretson (00:56):
Yes.

Agent Matt Bryant (00:56):
I have texted and called him.

James Garretson (00:58):
I told him, this is what he said. He said, Hey, in Toronto, till Thursday, mom, not doing well or replacing
phone, this one sucks, prepaid. Call you when I get new one. I will send it to you. I got that on Friday. So I
will make sure he gets a hold of you because I don't want him to go through it alone. So he still hasn't
taken a plea yet?

Agent Matt Bryant (01:33):



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I have not heard anything yet. Still just prepping and trying to get this thing done, man. How you holding
up with everybody beating you up?

James Garretson (01:41):
Oh, I am good. Just going to be a shit-show. I wish he would just take the plea and be done with it.

Agent Matt Bryant (01:53):
I said, I hate not hearing from of ya. I know you are busy and got a lot going on. [crosstalk 00:01:57]

James Garretson (01:59):
I am good. I'm just trying to get my story vamped so I can go to Florida and be good, because this thing
has to run while I am down there so I can sell it.

Agent Matt Bryant (02:05):
Gotch you.

James Garretson (02:09):
I will see you whenever you are in town this week. Are you in town anytime soon?

Agent Matt Bryant (02:14):
I am up in Oklahoma City now.

James Garretson (02:18):
Gotcha. Maybe I will meet you in Pauls Valley next couple of days.

Agent Matt Bryant (02:22):
Okay, what do you have up there?

James Garretson (02:25):
Nothing. I would just like to talk to you in person about a couple things, but I would rather do it in
person.

Agent Matt Bryant (02:30):
Oh, okay.

James Garretson (02:31):
Nothing about the case.

Agent Matt Bryant (02:31):
It is not about the case?

James Garretson (02:36):
No, no, no. Yeah. And I am good. I am good.


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Agent Matt Bryant (02:43):
Alrighty. So if you really need to talk to my man, I can try to make the trip down.

James Garretson (02:49):
Give me a couple of days. I will come up to the city if you got a minute to get away.

Agent Matt Bryant (02:53):
Yeah. If you feel like a ride, come up. Come up one day.

James Garretson (03:00):
What day is not good for you. Do you have any days this week that are not good for you?

Agent Matt Bryant (03:06):
Oh, let's see. Obviously tomorrow we are picking Grand Jury. That is not good. Any other day if you
want- [crosstalk 00:03:11].

James Garretson (03:11):
Oh, are you involved in that? Picking the Grand Jury?

Agent Matt Bryant (03:16):
Say again.

James Garretson (03:16):
Are you involved in that? When you pick the Grand Jury?

Agent Matt Bryant (03:19):
Yeah.

James Garretson (03:21):
Really? What role do you play in that?

Agent Matt Bryant (03:22):
Just assist the attorneys and anything that they need.

James Garretson (03:27):
Really? Is that a pretty bad process? Pretty lengthy process to?

Agent Matt Bryant (03:33):
Well, it is just part of the process. It is just part of it. So, that was always scheduled initially, as you knew
for the start of trial.

James Garretson (03:44):
Yeah. Okay. Let me touch base with you this afternoon and I will come up with a day I can come up.

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Agent Matt Bryant (03:53):
All right. You are sure it is nothing about the case going to throw a ring or anything I need to be worrying
about?

James Garretson (03:55):
With what?

Agent Matt Bryant (03:55):
You sure it is nothing about the case that I made it be worrying about?

James Garretson (04:03):
No, no, no, no, no, no... No, I wanted to talking about some other things going on in the animal world. I
just didn't want to talk to you about, I want to be able to talk to you in person.

Agent Matt Bryant (04:10):
Oh, okay. Sounds good. So it is more intel on other animals. Gotcha.

James Garretson (04:17):
It is a lot of intel.

Agent Matt Bryant (04:19):
Gotcha. [crosstalk 00:04:20]

James Garretson (04:22):
Yeah. But I will touch base with you. I will come down in the next day or two. I know not tomorrow. So I
will give you a holler this afternoon, see when I can get away.

Agent Matt Bryant (04:33):
Sounds good brother. Keep your chin up man and stay in touch. If you talk to Paul, just tell him to touch
base with me. I got to get this subpoena served and then we can talk.

James Garretson (04:42):
Okay.

Agent Matt Bryant (04:42):
It will be logistics after that.

James Garretson (04:42):
All right, you got it. All right, man. Bye.

Agent Matt Bryant (04:45):
All right man, bye.



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